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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                                Criminal Action Nos.
         v.
                                                1:14-CR-227-TCB-RGV
   G ARY E DWIN S HARP II, A.K.A.               1:14-CR-229-TCB-RGV
   G ARY E DWIN S HARP , J R .


               Government’s Motion for a Downward Departure
                      Based on Substantial Assistance

   The United States of America, by Byung J. Pak, United States Attorney, and

Christopher C. Bly, Assistant United States Attorney for the Northern District of

Georgia, files this motion for a downward departure under USSG §5K1.1.

                                   Background

   Defendant was charged in two cases with various copyright crimes, and in

each one he pleaded guilty to conspiring to commit criminal copyright

infringement in violation of 18 U.S.C. § 371. Defendant cooperated with the

Government, and the Government agreed to file a motion pursuant to USSG

§5K1.1 if it determined that the cooperation qualified as “substantial assistance.”

                      Argument and Citation of Authority

   The Court may depart from the Guidelines upon motion of the Government

“stating that the defendant has provided substantial assistance in the
investigation or prosecution of another person who has committed an offense.”
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USSG §5K1.1. The Court should consider: (1) the significance and usefulness of

Defendant’s assistance; (2) the truthfulness, completeness and reliability of

Defendant’s information and testimony; (3) the nature and extent of Defendant’s

assistance; (4) any injury or danger resulting from Defendant’s testimony; and (5)
the timeliness of Defendant’s assistance. See USSG §5K1.1.

   The factors in this case weigh in favor of the Government’s motion. Defendant

cooperated with investigators after he was indicted. The Government believes

that Defendant provided truthful information, and the information was

important. Significantly, Defendant was fully debriefed and explained his role in

the Applanet and SnappzMarket conspiracies, as well as that of his co-

conspirators. Ultimately, all of the defendants charged in both conspiracies either

pled guilty or, in the case of co-defendant Taylor, were found guilty following a

bench trial.

   Additionally, Defendant testified in the trial of David Lee, who was charged

with copyright crimes arising out of the Applanet conspiracy. Although the jury

in David Lee’s case was unable to reach a unanimous verdict, Defendant’s
testimony was nevertheless substantial and helpful to the Government’s case.

Specifically, Defendant testified about what Applanet did, about his own role in

Applanet, and about David Lee’s role in Applanet.




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                                  Conclusion

   The Government respectfully requests that the Court grant this motion and

depart four levels from Defendant’s otherwise applicable adjusted offense level.
The Government will offer additional argument in support of a reasonable

sentence at Defendant’s upcoming sentencing hearing.



                                        Respectfully submitted,

                                        B YUNG J. P AK
                                            United States Attorney


                                    /s/C HRISTOPHER C. B LY
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                           Amanda Clark Palmer


June 1, 2018


                                         /s/ C HRISTOPHER C. B LY

                                         C HRISTOPHER C. B LY

                                         Assistant United States Attorney
